
DENNIS STURGEON, Appellant,
v.
C &amp; L BUS COMPANY, Appellee.
No. 4D10-3766.
District Court of Appeal of Florida, Fourth District.
October 5, 2011.
Stewart Lee Karlin of the Karlin Law Group, P.A., Fort Lauderdale, for appellant.
John J. Shahady of Yoss LLP, Fort Lauderdale, for appellee.
PER CURIAM.
Affirmed. See Curbelo v. Ullman, 571 So. 2d 443 (Fla. 1990); Harrison v. La Placida Cmty. Ass'n, 665 So. 2d 1138 (Fla. 4th DCA 1996).
MAY, C.J., STEVENSON and CIKLIN, JJ., concur.
Not final until disposition of timely filed motion for rehearing.
